Case 2:05-cV-02426-.]PI\/|-de Document 8 Filed 07/15/05 Page 1 of 3 Page|D 1

 

IN THE UNITED sTATEs DISTRICT coUR'r F"'ED BV~% D-c-
Fon THE wEsTERN DISTRICT oF TENNESSEE
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FRED JoNEs, JR. , ) CUERK [DL{§§ §!;`3§!§§0€11¥?1'
MAxINE A. smITH, vAsco A. sMITH,) =~EMHM
JERI LEDBETTER, MARK LEDBETTER, )
TED MARTIN, JAMES sTAPLEs, )

CATI'IY DOUGLAS, RE'V. R.ALPI'I WHITE,)
and JANET W. WHITE

Plaintiffs,
v.

NO. 05-2426 Ml/V

RADIOLOGICAL ASSISTANCE
CONSULTING AN'D ENGIN'EERING, LLC,

v"vvv\-i`i`l-

Defendant.

 

ORDER GRANTING PLAINTIFFS' MOTION TO STAY PROCEEDINGS

 

Before the Court is Plaintiffs' Motion to Stay Proceedings,
filed July 6, 2005. Good cause having been shown, the Court

GRANTS the motion. The case is hereby STAYED.

SO ORDERED this ll{ day of July, 2005.

/A, c) m‘O&Q

(v?(r P. M<:CALLA
ITED sTATEs DISTRICT JUDGE

 

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with Rule 58 and/or 79{a) FRCP on

   

UN1TED `STATS DTRC1S1T COURT - ESTRNE 1CSR1T oF TENNESSEE

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